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                 Application GRANTED. The conference set for May 17, 2024, is ADJOURNED to May 24,
                 2024, at 10:00 A.M. EST. The parties shall appear in person in Courtroom 905 of the
                 Thurgood Marshall United States Courthouse, 40 Foley Square, New York, New York 10007.
                 An order issued May 6, 2024, directed the parties to be ready to discuss any pending motions
                 or applications at the upcoming conference. See ECF No. 90. On May 8, 2024, the
                 Government filed a letter stating that it currently intends to file its motion to strike by May
                 17, 2024. See ECF No. 91. Supplemental Federal Rule of Civil Procedure G(8)(c)(ii) requires
                 that any Government motion to strike a claim be decided prior to resolution of that
                 claimant's motion to dismiss. Accordingly, the parties are apprised that the Court does not
                 intend to discuss Claimants' motion to dismiss at the May 24 conference. So Ordered.
VIA ECF
The Honorable Dale E. Ho
U.S. District Judge
U.S. District Court for the Southern District of New York     Dale E. Ho
Thurgood Marshall United States Courthouse                    United States District Judge
40 Foley Square                                               Dated: May 9, 2024
New York, NY 10007                                            New York, New York
       Re: United States v. M/Y Amadea, No. 23-cv-9304 (DEH)

Dear Judge Ho:

        We represent Claimants in the above-referenced matter and write in response to Your
Honor’s May 6 Order setting a status conference for May 17, 2024. Counsel for Claimants are
scheduled to be out of the country on business on May 17 and therefore respectfully request that
the Court reschedule the conference for the following week. We have conferred with the
government on this matter and it does not object to our request. The parties have conferred and
are available anytime on May 21 or before 2:00 p.m. on May 24, if such times are convenient for
the Court.

       We thank the Court for its consideration of this submission.

                                                             Respectfully Submitted,

                                                             /s/ Adam C. Ford
                                                             Adam C. Ford
                                                             Renée L. Jarusinsky
                                                             Ford O’Brien Landy LLP
                                                             Counsel for Claimants Eduard
                                                             Yurievich Khudainatov and
                                                             Millemarin Investments Ltd.

cc: Counsel of Record for the government (via ECF)
